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FoR THE WESTERN DISTRICT oF TENNESSEE `5 p,., 3

 
   

   

EASTERN DIVISION C`Za/U __ 33
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RUDOLPH POWERS, )
)
Plaimifi; )
)

VS. ) No. 04-1248-T/An
)
CORRECTIONS OFFICER SPRINGER, )
sr AL., )
)
Defendants. )

 

ORDER ASSESSING APPELLATE FILING FEE

 

On June 29, 2005 , plaintiff Rudolph Powers, prisoner number 95360, an inmate at
Northwest Correctional Complex (“NWCX”) in Tiptonville, Tennessee, filed a notice of
appeal from the order of dismissal and judgment entered in this case. Plaintiff also filed a
document styled “Motion' for Extensions of Tirne. . . . and the Consoladation [sic] of the
Filling [sic] Fees.” The Court denied that motion, but granted plaintiff an extension of time
in Which to either file the documentation required under 28 U.S.C. § 1915(a)(2) or pay the
825 5 appellate filing fee. Plaintiff submitted the required documentation on August 2, 2005.

ln April 1996, the Prison Litigation Reform Act of 1995 (PLRA) amended 28 U.S.C.
§ 1915 to require that all prisoners bringing a civil action or filing an appeal pay the full

filing fee required by 28 U.S.C. § l9l4(a). TWenty-eight U.S.C. § l9lS(b) now provides:

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This document entered on the docket sheet in compliance :

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(b)(l) Notwithstanding subsection (a), if a prisoner brings a civil action or
files an appeal in forma pauperis, the prisoner shall be required to pay
the full amount of a filing fee. The court shall assess and, when funds
exist, collect, as a partial payment of any court fees required by law, an
initial partial filing fee of 20 percent ofthe greater ofg
(A) the average monthly deposits to the prisoner’s account; or
(B) the average monthly balance in the prisoner’s account for the

6-m0nth period immediately preceding the filing of the
complaint or notice of appeal

(2) After payment of the initial partial filing fee, the prisoner shall be
required to make monthly payments of 20 percent of the preceding
month’s income credited to the prisoner’s account. The agency having
custody of the prisoner shall forward payments from the prisoner’s
account to the clerk of the court each time the amount in the account
exceeds $lO until the filing fees are paid.

Thus, the informer pauperis statute does not excuse payment of the full filing fee required
by 28 U.S.C. § 1914(a); it merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and pay the remainder in installments.

ln this case, plaintiffs documents show that the average monthly balance in his trust
fund account during the past six months was $29. l 4 and his average monthly deposits were
367.53. Therefore, the Court hereby assesses a partial initial filing fee of 20% of $67.53,
which equals 813.50.

Accordingly, the trust fund officer at plaintiffs prison is ORDERED to collect, when
funds exist, the initial partial filing fee of 8 l 3 .50 from plaintiff s trust fund account and pay
it directly to the Clerk of Court. If the funds in plaintiff’ s account are insufficient to pay the
full amount of the initial partial filing fee, the prison official is instructed to withdraw all of

the funds in the account and forward them to the Clerk of Court. On each occasion that

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funds are subsequently credited to plaintiff’s account the prison official shall immediately
withdraw those funds and forward them to the Clerk of Court, until the initial partial
appellate filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiff’s account and pay to the Clerk of Court
monthly payments equal to 20% of all deposits credited to plaintiffs account during the
preceding month, but only when the amount in the account exceeds $10.00, until the entire
$255 filing feels paid.

The assessment of this fee does not supplant the previous assessment of the district
court filing fee. Rather, plaintiff is now obliged to pay both fees. Furthermore, the
assessment of the two fees must now be made simultaneously That is, the trust fund officer
shall collect 20% of the previous month’s deposits for the district court filing fee and
simultaneously collect 20% of the same month’s deposits for the appellate court fee. Thus,
the prison shall collect 40% of the deposits each month until the district court fee is paid.
When only the appellate fee remains outstanding, the trust fund officer shall collect 20% of
the monthly deposits until that fee is also paid in full. Lefkowitz v. Citi-Equitv Grour), Inc.,
146 F.3d 609, 612 (8th Cir. 1998); Newlin v. Helman, 123 F.3d 429, 436 (7th Cir. 1997)
(holding that “fees for filing the complaint and appeal cumulate”).

Each time that the trust fund officer makes a payment to the Clerk of Court as

required by this order, he shall print a copy of the prisoner’s account statement showing all

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activity in the account since the last payment under this order and file it with the Clerk along
with the payment All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, 111 S. I-Iighland Ave., Jackson, TN 38301,

and shall clearly identify plaintiffs name, inmate number and the case number on the first
page of this order.

The plaintiff shall cooperate with prison officials in the making of these payments
If plaintiff is transferred to a different prison or released, he is ORDERED to notify the
Court immediately of his change of address and provide the officials at the new prison with
a copy of this order.

The Clerk is directed to mail copies of this order to the prison official in charge of
prison trust fund accounts at plaintiffs prison and also to the warden of the NWCX to
ensure that the custodian of the plaintiff s inmate trust account complies with that portion
of the PLRA pertaining to the payment of filing fees. The Clerk shall also mail a copy of
this order to the United States Court of Appeals for the Sixth Circuit.

lT lS SO ORDERED.

Qa/Wz>§)aM

lYlES D. TODD
UNlTED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 1:04-CV-01248 was distributed by fax, mail, or direct printing on
August 9, 2005 to the parties listed.

 

Rudolph Powers
NWCC-TIPTONVILLE
95360

960 State Route 212
Tiptonville7 TN 38079

Honorable .l ames Todd
US DISTRICT COURT

